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                       IN THE UNITED STATES BANKRUPTCY COURT
                               FOR DISTRICT OF MARYLAND
                                  BALTIMORE DIVISION

IN RE:                        *    CASE NO: 14-23316
         Reuben Maxwell       *
                              *    CHAPTER 13
               Debtor         *
                              *
*    *   *     *      *  *    *    *     *     *     *  *
MOTION FOR EXTENSION OF DEADLINE FOR FILING MISSING DOCUMENTS

         Now comes the Debtor, by his undersigned attorney, and requests that this Honorable

Court grant an extension of time for the Debtor to file the Chapter 13 Plan, Statement of

Financial Affairs, Form 22, Summary of Schedules and Schedules A through J in the above-

referenced case and in support thereof states the following:

         1.       That the Debtor filed a bare bones petition on August 25, 2014.

         2.       That the Court set a deadline for filing the Missing Documents on September 8,

                  2014.

         3.       That the Debtor needs additional time to collect the information necessary to

                  complete his required filings.

              WHEREFORE, the Debtor hereby requests that this Honorable Court grant an

extension to file the missing documents in the above-referenced matter.



                                  /s/ Michael Coyle, Esq.
                                 Michael Coyle, #16202
                                 Chaifetz & Coyle, PC
                                 7164 Columbia Gateway Drive, Suite 205
                                 Columbia, MD 21046
                                 (443) 546-4608
                                 Counsel for Debtor
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of September, 2014 a copy of the Motion for

Extension of Deadline for filing the missing documents in the above-captioned matter was

served electronically upon the Chapter 13 Trustee.



                                       /s/ Michael Coyle, Esq.
                                       Michael Coyle, #16202
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                    IN THE UNITED STATES BANKRUPTCY COURT
                            FOR DISTRICT OF MARYLAND
                               BALTIMORE DIVISION

IN RE:                                  *      CASE NO: 14-23316
              Reuben Maxwell            *
                                        *      CHAPTER 13
                     Debtor             *
                                        *
*        *    *      *        *   *     *      *      *      *     *       *
                    ORDER ON DEBTOR’S MOTION TO EXTEND
                   TIME FOR FILING MISSING DOCUMENTS

         Debtor’s Motion for Extension of Deadline to File Missing Documents is

GRANTED and the deadline is extended to the date listed above.


Cc:
Chapter 13 Trustee
Debtor
Debtor’s Attorney

                                  END OF ORDER

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